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  10                     UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
  11
  12 JOHN SLOATMAN III            Case No. 2:21−cv−04255−SB−SHK
            Plaintiff(s),
  13
                                  ORDER RE: MOTIONS FOR
                        v.        SUMMARY JUDGMENT
  14
     NORTHSTAR LOCATION SERVICES, [updated 6-15-21]
  15 LLC, et al.
  16        Defendant(s).
  17
  18   READ THIS ORDER CAREFULLY BECAUSE IT CONTROLS THIS CASE
  19            AND DIFFERS IN PART FROM THE LOCAL RULES.
  20
  21
                                    TABLE OF CONTENTS
  22
  23                        1.   General Requirements

  24                        2.   Joint Appendix of Facts

  25                        3.   Joint Appendix of Evidence

  26                        4.   Joint Appendix of Objections

  27                        5.   Failure to Comply

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  1    1.   GENERAL REQUIREMENTS

  2         a.   Joint Brief. The parties shall work cooperatively to submit a single joint

  3              brief for all motions for summary judgment or adjudication (MSJs). The

  4              Joint Brief shall be organized by issue presenting the parties’ competing

  5              positions on an issue-by-issue basis. For each issue, the moving party

  6              shall present legal argument and citation to the Joint Appendix of Facts

  7              (see infra) followed immediately by the opposition’s response that

  8              similarly must be supported by legal argument and citation to the Joint

  9              Appendix of Facts.

  10        b.   Form. Because summary judgment motions are fact intensive, parties

  11             should prepare papers in a fashion that will assist the Court in

  12             considering the material (e.g., use of tabs, tables of contents, headings,

  13             indices). The Joint Brief must cite to the Joint Appendix of Facts, see

  14             infra.

  15        c.   Page Limitation. Each separately represented party shall be limited to

  16             twenty-five (25) pages, exclusive of tables of contents and authorities.

  17             Leave for additional space will be given only in extraordinary cases.

  18             Each party is limited to the use of a total of eight footnotes.

  19        d.   Timing. The Court expects the parties to agree to a filing schedule for an

  20             MSJ, which must be filed at least five weeks before the motion hearing

  21             cutoff date. The parties should not wait until the last day to file; on the

  22             other hand, clearly premature motions requiring a continuance to permit

  23             discovery wastes resources.

  24        e.   Briefing Schedule. The schedule for the Joint Brief shall be as follows:

  25             i.   Meet and Confer. For an MSJ to be timely filed, the moving party

  26                      must arrange for an in-person meeting or videoconference to take

  27                      place no later than forty-two (42) days before the motion hearing

  28                      cutoff set forth in the case management order. The parties shall


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  1                   thoroughly discuss each issue to be raised and the law and

  2                   evidence relevant to that issue. A thorough discussion serves a

  3                   critical function: it often narrows the issues to be adjudicated; and

  4                   it allows the parties to squarely and fully address the actual issues

  5                   requiring resolution.

  6            ii.    Moving Portion. No later than seven (7) days after the meet and

  7                   confer, the moving party shall personally deliver or email to the

  8                   opposing party an electronic copy of the moving party’s portion of

  9                   the Joint Brief, together with the moving party’s portion of the

  10                  Joint Appendix of Facts and Joint Appendix of Evidence, see infra.

  11           iii.   Opposing Portion. No later than fourteen (14) days after receiving

  12                  the moving party’s papers, the opposing party shall personally

  13                  deliver or email to the moving party an electronic copy of the

  14                  integrated motion, which shall include the opposing party’s portion

  15                  of the Joint Brief, Joint Appendix of Facts, and Joint Appendix of

  16                  Evidence. At this point, the opposing party should sign the Joint

  17                  Brief.

  18           iv.    Filing of Joint Brief. After receiving the integrated version of the

  19                  motion and related papers, the moving party shall finalize it for

  20                  filing without making any further revisions to the Joint Brief and

  21                  appendices. Once finalized, the moving party’s counsel shall sign

  22                  and electronically file the Joint Brief, Joint Appendix of Facts, and

  23                  Joint Appendix of Evidence no later than two (2) business days

  24                  after receiving the opposing party’s signed copy. The Joint Brief

  25                  shall be accompanied by a Notice of Motion and Motion for

  26                  Summary Judgment and shall be calendared pursuant to the Local

  27                  Rules on an available date within the motion hearing cutoff.

  28   ///


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  1         f.   Supplemental Memorandum. After the Joint Brief is filed, each party

  2              may separately file a supplemental memorandum of points and

  3              authorities, not exceeding ten (10) pages in length, no later than fourteen

  4              (14) days before the scheduled hearing date. The parties may not use this

  5              filing to supplement the Joint Appendix of Facts or the Joint Appendix of

  6              Evidence in any way. No additional briefing or filing in support of or in

  7              opposition to the MSJ is permitted.

  8         g.   Multiple Motions. No more than one joint motion may be filed under

  9              Fed. R. Civ. P. 56, whether brought as a motion for summary judgment

  10             or summary adjudication, without leave of Court. In the rare case

  11             involving good cause to file multiple joint motions, the parties shall seek

  12             leave by a joint noticed motion setting forth their respective positions on

  13             the existence of good cause.

  14   2.   JOINT APPENDIX OF FACTS

  15        The Joint Brief shall be accompanied by a single statement of undisputed and

  16   disputed facts contained in a Joint Appendix of Facts (JAF) presented in a table.

  17        a.   Table Format. The JAF table shall contain four columns.

  18             i.    Column No. 1. The first column shall contain the number of the

  19                   fact alleged to be undisputed. All asserted undisputed facts shall

  20                   be sequentially numbered and divided into sections according to

  21                   the element of proof to which the facts relate.

  22             ii.   Column No. 2. The second column shall contain a plain statement

  23                   of the fact.

  24                       Facts shall not be compound (e.g., Mike and Jane signed a

  25                       contract, and Jane mailed the contract in May 2017).

  26                       Each fact must be stated separately in its own row as shown

  27                       below.

  28                       Neither legal arguments nor conclusions constitute facts.


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  1                             Facts shall not be repeated if they relate to multiple claims

  2                             for multiple elements of proof. The first reference to a fact in

  3                             the Joint Appendix of Facts shall serve and−through

  4                             incorporation by reference−can be cited to support all

  5                             subsequent claims (e.g., “See JAF 1-5”).

  6                iii.     Column No. 3. The third column shall contain a citation to

  7                         admissible evidence that supports the proffered fact; the evidence

  8                         cited must be included in the Joint Appendix of Evidence.

  9                iv.      Column No. 4. The fourth column shall contain the opposing

  10                        party’s response to the fact alleged to be undisputed: (1) stating

  11                        that the fact is undisputed or disputed, (2) briefly stating why the

  12                        opposing party disputes the fact, (3) citing with specificity the

  13                        evidence that refutes the fact, and (4) explaining how the cited

  14                        evidence refutes the fact; the evidence cited must be included in

  15                        the Joint Appendix of Evidence.

  16          b.     Headers. Where feasible, parties should use headers to group facts

  17                 relevant to a particular issue. See Example below.

  18          c.    Example. The table below illustrates the format that must be used.

  19                                                Supporting
             SUF No.           Fact                 Evidence         Def.’s Response
  20
       Issue No.1. Plaintiff’s Claim for Breach of Contract is Barred by the Statute
  21               of Limitations.
  22
                          Mike and Jane       Smith Decl. ¶ 5, Ex. Disputed. Jane testified
        1.
  23                      signed a contract   6.                   that the contract was for a
                          for the sale and                         lease, not a purchase. Jane
  24                      purchase of                              Depo. 29:4-16, Ex. 1.
                          property.
  25                      Jane mailed the     Smith Decl. ¶ 8, Ex. Disputed in Part. Jane
        2.
                          contract in May     21.                  testified she mailed the
  26                      2017.                                    contract in January 2017
                                                                   Jane Depo. 3:4-10, Ex. 1.
  27
  28   ///

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  1        d.     Courtesy Copy with Hyperlinks. After filing the Joint Brief, the parties

  2               shall provide a courtesy copy to the Court (sent to the Chambers email

  3               address) which includes hyperlinks to each cited exhibit in the JAE.

  4        e.    Good-Faith Preparation. The parties shall cooperate to prepare the JAF

  5               in good faith and otherwise will be subject to appropriate sanctions.

  6              i.    The parties shall work cooperatively to identify a single set of facts

  7                    alleged to be undisputed to avoid unnecessary duplication or

  8                    confusion.

  9             ii.    The parties shall provide only material facts, in a noncompound

  10                   form, arranged according to their relevancy to a particular issue.

  11                   Do not rotely “cut and paste” from the “Background” of the Joint

  12                   Brief.

  13            iii.   If a party disputes a fact in bad faith by offering evidence that does

  14                   not contradict the proffered fact or by failing to provide a specific

  15                   citation to the supporting evidence, the Court will deem the fact

  16                   undisputed for purposes of the motion. See Fed. R. Civ. P.

  17                   56(e)(2); L.R. 56-3.

  18            iv.    If a party disputes a fact in part, the disputing party should state

  19                   “Disputed in Part,” highlight the disputed part in bold italics, and

  20                   provide the specific evidentiary support for the dispute (see

  21                   example above). A party that lacks candor in failing to

  22                   acknowledge the limited extent of the dispute forces the Court to

  23                   expend needless resources discovering it itself.

  24             v.    The JAF should be as narrow and concise as the issues on

  25                   summary judgment properly warrants. If the Court determines that

  26                   the JAF is unjustifiably long or unwieldy, the Court may strike the

  27                   JAF and require the parties to refile it (and any document citing it)

  28                   within two (2) business days.


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  1             vi.    Deliberate gamesmanship designed to abuse the process will result

  2                    in an order to show cause re: sanctions against the abusive party,

  3                    including, if appropriate, terminating and/or monetary sanctions.

  4                    Abuses include but are not limited to the following tactics:

  5                         Stating a fact is undisputed when clearly known to be

  6                         otherwise;

  7                         Disputing a clearly undisputed fact in whole or part;

  8                         Manufacturing a dispute by mischaracterizing evidence;

  9                         Making non-evidentiary legal argument in the JAF; and

  10                        Introducing clearly irrelevant or immaterial facts for the

  11                        obvious purpose of obfuscation.

  12   3.   JOINT APPENDIX OF EVIDENCE.

  13        The Joint Brief shall be accompanied by a Joint Appendix of Evidence (JAE)−

  14   i.e., a separate, tabbed appendix of all evidence in support of or opposition to the

  15   MSJ, including declarations, deposition excerpts, documents, photographs, etc.

  16   Physical evidence (e.g., video recordings) shall be lodged separately. No evidence

  17   should be attached to a memorandum of points and authorities or included

  18   anywhere other than in the JAE.

  19        The JAE shall include a table of contents. The JAE shall be filed as a single,

  20   combined PDF; more than one PDF may be filed if file-size constraints preclude

  21   filing the JAE as a single PDF. In the event multiple PDFs are necessary to file the

  22   JAE, each file shall be titled by part and exhibit series (e.g., JAE Part 1, Exhibits

  23   1 − 50). Each exhibit within the JAE must be bookmarked; the bookmark should

  24   include the exhibit number and a brief description of the exhibit (e.g., Ex. 1 −

  25   Jones Depo. Excerpts).

  26        Declarations shall set out admissible facts without any argument, and evidence

  27   must be properly authenticated by stipulation, declaration, or otherwise. No party

  28   shall submit evidence other than the specific evidence necessary to support or


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  1     controvert a proposed statement of undisputed fact. Do not, for example, submit the

  2     entire deposition transcripts or an entire set of interrogatory responses when relying

  3     on only a portion thereof.

  4     4.   JOINT APPENDIX OF OBJECTIONS.

  5          The Joint Brief shall be accompanied by a Joint Appendix of Objections

  6     (JAO)−i.e., evidentiary objections, if any, shall be made in a single, separate

  7     document presented in a four-column table as follows:

  8     Objector             Evidence                 Objection (O)/Response(R)         Ruling
  9     Plaintiff 1. “Jane mailed the contract in O: Lacks foundation.                    S/O
                  May 2017.” (Smith Decl. ¶ 8.) R: Smith saw Mary mail it. (¶ 8.)
  10
  11         Failure to comply with this formatting requirement will result in a waiver of

  12    the objections. Blanket or boilerplate objections will be overruled and disregarded.

  13         If any party has an objection to evidence that is claim- or case-dispositive, the

  14    party must state the objection in the appropriate section of the Joint Brief.

  15    5.   FAILURE TO COMPLY.

  16         If it appears that the parties have not met and conferred in good faith, have not

  17    worked to fully integrate the MSJ, or have otherwise failed to fully comply with

  18    this Order, the MSJ may be stricken, and the parties may be required to repeat the

  19    process. The deadline for hearing the MSJ will not be continued for failure to

  20    comply with this Order, absent good cause. If it appears that one (or more) of the

  21    parties is primarily responsible for the failure to properly file a compliant Joint

  22    Brief, the primarily responsible party or parties shall be subject to appropriate

  23    sanctions.

  24         IT IS SO ORDERED.

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  27
       Dated: September 28, 2021
  28                                                       Stanley Blumenfeld, Jr.
                                                      United States District Court Judge

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